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IN THE UNITED STATES DISTRICT COURT -FILED BY g

 

FoR THE WEsTERN msTRICT oF TENNEssEE - °'°-
WESTERN mvrsloN 05 JUN 20 p” 2_. m
§YEETU%.D£»S;¢ 01
UNITED s'rATEs oF AMERICA W'D' OF TN* ’*’EM"°I‘HSb
Piaintiff,
vs CR. No. 04-20010-D

UNDRIA M. WILLIAMS

Defendant.

 

*A*M*E*N*D*E*D* ORDER TO SURRENDER

 

The defendant, Undria M. Williarns, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FMC Lexington
SCP F, 3301 Leestown Rd., Lexington, Kentucky 40511 by 2:00 p.m. on *TUESDAY, AUGUST
16, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the .20 day of June, 2005.

  

RNICE B. DONALD

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W“h H cument entered on the docket sh TED STATES DISTRICT JUDGE / z
ute 55 and/or 32(b) FRCrP on

   

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ACIQ\IOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-200]0 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

EdWard P. Bronston

LAW OFFICE OF EDWARD P. BRONSTON
246 Adams Ave.

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

